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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 19-20674-CR-GAYLES(s)(s)

  UNITED STATES OF AMERICA

  vs.

  JOSHUA RYAN JOLES, et al.,

                        Defendants.
                                        /

                        AGREED MOTION TO EXTEND VOLUNTARY
                                 SURRENDER DATE

         The United States, with the agreement of the defendants identified herein, hereby moves

  to extend the voluntary surrender dates of defendants Joshua Ryan Joles, Mohammad Salemi,

  Frank Alvarez, Kadir Diaz, Jorge Isaac Paiz, and Carlos Robin Gonzalez.

         As grounds therefor, the United States asserts the following:

         1.      All of the aforesaid defendants have been cooperating with the United States. As a

  result, all have been given voluntary surrender dates in late January or February, 2022.

         2.      Defendant Stephen Manuel Costa is now set for trial during the April 25, 2022 trial

  period. All of the aforesaid defendants are likely to be witnesses against him. This case is data-

  intensive, and the charged conspiracy covered a time a time period of approximately six years.

  Trial preparation with each witness will thus be time-consuming and detailed.

         3.      The United States is also conducting ongoing investigations of additional targets

  related to this case, and some involved in separate conspiracies. The aforesaid defendants are

  cooperating in these extended investigations.

         4.      Undersigned government counsel has met with some of these cooperating

  defendants this month, and will also need to meet with some of them early next year. Due to
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  COVID restrictions as well as space and manpower limitations, it would be extremely difficult to

  meet with them to prepare for trial, and to conduct ongoing investigations, if they are incarcerated.

         5.      COVID issues may affect the current trial setting for Stephen Costa. Accordingly,

  the United States is seeking some extra time for the defendants’ surrender dates as a safety margin.

  Additionally, after the resolution of pending charges against the remaining defendants, in the event

  Rule 35 motions are filed and heard the defendants would all prefer to still be out. This could only

  occur after the conclusion of such trial.

         Wherefor, the United States moves to extend the voluntary surrender date for the aforesaid

  defendants to Monday, June 13, 2022.

                                                    Respectfully submitted,

                                                    JUAN ANTONIO GONZALEZ
                                                    UNITED STATES ATTORNEY

                                              By:    /s/ Frank H. Tamen
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I filed the foregoing document with the Clerk of the Court and
  served copies upon counsel of record for the defendant via electronic mail on December 21, 2021.

                                                     /s/ Frank H. Tamen
                                                    Frank H. Tamen
                                                    Assistant United States Attorney




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